              Case 8:20-mj-00313-DUTY Document 3 Filed 07/01/20 Page 1 of 44 Page ID #:175
AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means                       ☐ Original      ☐ Duplicate Original



                                              UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                     Central District of California

                          In the Matter of the Search of                             )
                  (Briefly describe the property to be searched or identify the      )
                                  person by name and address)                        )      Case No. 8:20-MJ-00313-DUTY
                         A single-story house located at                             )
                             1329 S. Center Street,                                  )
                                                                                     )   **NOTE CHANGES MADE BY THE COURT
                          Santa Ana, California 92704
                                                                                     )
                                                                                     )

                  WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location) :

        See Attachment A-1

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized) :

        See Attachment B

        Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
       X in the daytime 6:00 a.m. to 10:00 p.m. xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                                                  at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.
         Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
            for        days (not to exceed 30)               until, the facts justifying, the later specific date of                             .


Date and time issued:                   June 18, 2020 @ 4:26pm                                           /s/ Autumn D. Spaeth
                                                                                                                  Judge’s signature

City and state:               Santa Ana, CA                                                  Honorable Autumn D. Spaeth, U.S. Magistrate Judge
                                                                                                               Printed name and title

AUSA:             C. Pell (714-338-3542)
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AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Elc~tronic Mc;ans (Page 2)

                                                                               Return
Case No.:                                  Date and time w,,trrant ex cuted: /Jff#. Copy of warrant and inventory left with:
8:20-MJ-00313-DUTY                 D6(2-c./J202.o                             DbOD                   Sv./J...J7:::-er             "/l,c:'Y'--t CJ£   s.
Inventory made in the presence of: S:. A- 6/L ~                            \2-6 ~
Inventory of the property taken and name of any person(s) seized:



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                                                                            Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



 Date:



                                                                                                            Printed 11a,11 e and title
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                             ATTACHMENT A-1

PREMISES TO BE SEARCHED

       The premises to be searched is described as follows: 1329

S. Center Street, Santa Ana, California 92704 (SUBJECT PREMISES

#1).   SUBJECT PREMISES #1 is a single-story house with a brown

colored roof.    SUBJECT PREMISES #1 has white colored security

type rod-iron front door/screen.       There is a large palm tree

located to the left of the front door.        In addition, the numbers

“1329” are listed vertically on a support column next to the

front door.    SUBJECT PREMISES #1 also has an attached garage.

The garage door has top windows that are rectangular in shape.

       SUBJECT PREMISES #1 includes all annexes, storage areas,

attics, porches, garages (including the trailer), carports,

sheds or storage space assigned to the premises, mailboxes,

trash containers, and debris boxes.
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                                    ATTACHMENT B
I.      ITEMS TO BE SEIZED
        1.   The items to be seized are evidence, contraband, fruits,

or instrumentalities of violations of Title 8, United States Code,

Section 1326(a), Title 18, United States Code, Sections 545,

922(g)(5), and 922(l), and Title 26, United States Code, Sections
5861(d), 5861(i), and 5861(k), which criminalize, respectively,

illegal reentry by deported alien, smuggling goods into the United

States,      illegal        alien   in   possession   of   firearm,   unlawful

importation       of    a   firearm/silencer,   possession   and   receipt   of

unregistered firearm/silencer, receipt of firearm/silencer without

serial number, and possession and receipt of unlawfully imported

firearm/silencer (collectively, the “Subject Offenses”), namely:

             a.        Firearms, including silencers, firearm

components, and ammunition;

             b.        Records of purchase, sale, or other transfer of

firearms or ammunition, or attempted purchase, sale, or other

transfer of firearms or ammunition;

             c.        For the time period 2015 to present, records or

items showing indicia of occupancy, residence, or ownership of

1329 S. Center Street, Santa Ana, California 92704 (SUBJECT

PREMISES #1) and 518 S. Sullivan Street, SPC 99, Santa Ana,

California 92704 (SUBJECT PREMISES #2), such as leases, utility

bills, identity documents, paystubs, bank statements, and other

mail;

             d.        Identity and immigration documents related to

Luis Memije, also known as Luis Memije-Guzman (MEMIJE),


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including birth certificates, marriage or divorce documents,

passports, baptism records, school and medical records, U.S.

social security cards or U.S. social security number-related

documents, copies of applications or petitions filed with or

received from U.S. immigration, California or other state

identification cards, driver licenses, or other types of

identification, insurance or other benefit cards, and national

identity cards, such as the Mexican Consulate “matrícula

consular.”

             e.   Documents, records, and other items relating to

the use of United States Postal Service or commercial express

mail delivery companies, such as FedEx and UPS, to order or

receive firearms or ammunition, including air bills, and empty

or previously used mailing boxes and packaging;

             f.   Materials, package tracking records, and

transaction receipts for mail or shipments to SUBJECT PREMISES

#1 and SUBJECT PREMISES #2;

             g.   Audio recordings, pictures, video recordings, or

still captured images related to the possession, purchase, sale,

transportation, or distribution of firearms or ammunition;

             h.   3-D printing materials, printing programs and

applications, and blueprints for firearms or firearm components;

             i.   Documents and records reflecting the identity of,

contact information for, communications with, or times, dates or

locations of meetings with sources of supply of firearms

(including silencers) or ammunition, including calendars,

address books, telephone or other contact lists, pay/owe


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records, correspondence, receipts, records, and documents noting

price, quantities, and/or times when firearms or ammunition were

bought, sold, or otherwise distributed, whether contained in

hard copy correspondence, notes, emails, text messages,

photographs, and videos;

            j.   Tutorials and instructional videos on how to

manufacture firearms, modify firearms, and convert other items

into firearms or firearm accessories;

            k.   Records of searches for firearms and/or

suppressors using both regular terms and coded language,

including "filter," "fuel filter," "solvent trap," "silencer,"

and "suppressor;"

            l.   Records related to websites of importers or

exporters of firearms and forearm accessories, e-commerce

portals or platforms selling firearms or firearm accessories,

and message boards discussing the importation, manufacture, and

modification of firearms or the conversion of items into

firearms;

            m.   Cash in excess of $3,000;
                 XXXXXXXXXXXXXXXXXXXXXXXX
            n.   Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

            o.   With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                 i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were


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created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                 ii.     evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;

                 iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.      evidence of the times the device was used;

                 vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.        records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search


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engine, and records of user-typed web addresses.

      2.   As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

      3.   As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.


I.    SEARCH PROCEDURE FOR DIGITAL DEVICES
      4.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

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their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.         The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.          The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

           b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.     The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.


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            c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device

pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime

was encountered, including how it was immediately apparent

contraband or evidence of a crime.

            d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

            e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

            f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

            g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),


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including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

             h.   After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

        5.   The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

        6.   In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

             a.   Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

             b.   Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

             c.   Any magnetic, electronic, or optical storage

device capable of storing digital data;


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            d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

            e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

            f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

            g.    Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

      7.    During the execution of this search warrant, law

enforcement is permitted to: (1) depress MEMIJE’s thumb and/or

fingers onto the fingerprint sensor of the device (only when the

device has such a sensor), and direct which specific finger(s)

and/or thumb(s) shall be depressed; and (2) hold the device in

front of MEMIJE’s face with his or her eyes open to activate the

facial-, iris-, or retina-recognition feature, in order to gain

access to the contents of any such device.         In depressing a

person’s thumb or finger onto a device and in holding a device

in front of a person’s face, law enforcement may not use

excessive force, as defined in Graham v. Connor, 490 U.S. 386
(1989); specifically, law enforcement may use no more than

objectively reasonable force in light of the facts and

circumstances confronting them.




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      8.    The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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                             A F F I D A V I T
      I, Steven Timmins, being duly sworn, declare and state as

follows:

                       I.    BACKGROUND OF AFFIANT
            I am a Special Agent (“SA”) with the United States

Department of Homeland Security (“DHS”), Immigration and Customs

Enforcement (“ICE”), Homeland Security Investigations (“HSI”).

I have been employed by HSI since September 2009.          I am

currently assigned to the Assistant Special Agent in Charge,

Orange County, which is tasked with investigating child

exploitation, child pornography, cybercrimes, immigration

crimes, human rights violations and human smuggling, smuggling

of narcotics, weapons, and other types of contraband, financial

crimes, and export-import enforcement issues.

            Through my training and experience, and the training

and experience of other law enforcement officers experienced in

investigating crimes involving weapons smuggling with whom I

have had discussions, I have become familiar with the methods
used by people who commit these types of offenses.           My training

and experience has given me an understanding of how people who

commit weapons smuggling offenses use the Internet to facilitate

and commit those offenses.

                       II.   PURPOSE OF AFFIDAVIT
            This affidavit is made in support of a criminal

complaint and arrest warrant against Luis Memije, also known as

Luis Memije-Guzman (“MEMIJE”), charging a violation of Title 8,

United States Code, Section 1326(a) (Illegal Alien Found in the


                                     1
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United States Following Deportation or Removal).
             This affidavit is also made in support of an

application for warrants to search for evidence described in

Attachment B, which are the fruits, instrumentalities, and

evidence of violations of 8 U.S.C. § 1326(a) (illegal reentry by

deported alien); 18 U.S.C. § 545 (smuggling goods into the

United States), 18 U.S.C § 922(g)(5) (illegal alien in

possession of firearm), 18 U.S.C. § 922(l) (unlawful importation
of a firearm/silencer), 26 U.S.C. § 5861(d) (possession and

receipt of unregistered firearm/silencer), 26 U.S.C. § 5861(i)

(receipt of firearm/silencer without serial number), and 26

U.S.C. § 5861(k) (possession and receipt of unlawfully imported

firearm/silencer) (collectively, the “Subject Offenses”).

             The two locations and vehicle to be searched are:

             a.   SUBJECT PREMISES #1: A single-story house located

1329 S. Center Street, Santa Ana, California 92704, as described

in more detail in Attachment A-1.

             b.   SUBJECT PREMISES #2: A single-story mobile home

located at 518 S. Sullivan Street, SPC 99, Santa Ana, California

92704, as described in more detail in Attachment A-2.

             c.   SUBJECT VEHICLE #1: A silver colored 2014 Dodge

Ram 1500 bearing California license plate number 13711R1, as

described in more detail in Attachment A-3.

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there


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is sufficient probable cause for the requested search warrants,

arrest warrant, and criminal complaint, and does not purport to

set forth all of my knowledge of or investigation into this

matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                     III. SUMMARY OF PROBABLE CAUSE
            As set forth in greater detail below, MEMIJE, who

resides at SUBJECT PREMISES #1, was the intended recipient of an

international parcel, which contained a firearm silencer without

a serial number that was unlawfully imported from the People’s

Republic of China (“PRC”) in January 2020.         That parcel was

addressed to MEMIJE at the address of SUBJECT PREMISES #2.

            As also detailed below, MEMIJE has purchased and

possessed multiple firearms in California during the past

several decades.

            Further investigation has revealed that MEMIJE is

illegally present in the United States, so federal law

proscribes him from possessing any firearms.          He also lied on

firearms registration forms when asked whether he was illegally

present in the United States.

                     IV. STATEMENT OF PROBABLE CAUSE

            Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

A.    Background on inspection of parcels at U.S. borders
            United States Customs and Border Protection (“CBP”)

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must examine and admit international mail parcels and shipments

that arrive in the United States before they are delivered to

their destinations by a carrier.         CBP officers are assigned to

International Mail Facilities, like the one at the Los Angeles

International Airport (“LAX”) Service Center.          CBP officers

conduct routine examinations of parcels shipped by foreign mail

services at LAX before the parcels are prepared for delivery to

their final destination.      Due to the large volume of cargo that

enters the United States on a daily basis, CBP is unable to

examine all parcels.      CBP uses a variety of methods to select

parcels for border search examination, including random and

targeted inspections.
            Pursuant to their authority under Title 19, Code of

Federal Regulations, Section 162.6, CBP officers and certain

other law enforcement officers may conduct examinations of goods

entering the United States without a search warrant, probable

cause, or individualized suspicion, under what is commonly known

as “Border Search Authority.”       From my training and experience
as well as my conversations with the United States Attorney’s

Office, I am also aware that searches at the border generally do

not require probable cause or a warrant.

B.    Background on Firearms and Smuggling Offenses
            From my training and experience as well as discussions

with law enforcement contacts at the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”), I am aware that the National

Firearms Act (“NFA”), codified at Title 26, United States Code,

Chapter 53, regulates the importation and possession of machine


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guns, short-barreled shotguns, silencers, and certain other

dangerous firearms.
            Firearm silencers, or “suppressors,” are described in

Title 18, United States Code, Section 921(a)(24) as “any device

for silencing, muffling, or diminishing the report of a portable

firearm, including any combination of parts, designed or

redesigned and intended for use in assembling or fabricating a

firearm silencer or firearm muffler, or any part intended only

for use in such assembly or fabrication.”         Other common terms

used for firearm suppressors are “firearm silencer,” “firearm

muffler,” or “silencer.”      I have used the terms interchangeably

in this Affidavit.     Suppressors are a controlled item and are

subject to control under the NFA.

            In order to legally possess a suppressor, or other NFA

firearm, an individual must apply and receive advance approval

from the ATF.     The silencer must also have a registered serial

number and bear that serial number.        An individual who had

obtained ATF approval to receive and possess a silencer would
appear on the National Firearms Registration and Transfer

Record.

            Additionally, the NFA prohibits the importation of

suppressors unless they are for use by the United States, for

scientific research, for testing by a registered manufacturer,

or to be used as a sample by a registered importer.

            Similarly, the Gun Control Act of 1968 (“GCA”),

codified at Title 18, United States code, Chapter 44, requires

that firearms imported into the United States bear a serial


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number and restricts importation to firearms “generally

recognized as particularly suitable for or readily adaptable to

sporting purposes.”      From conversations with the United States

Attorney’s Office, I am aware case law remarking that silencers

are not generally recognized as being for sporting purposes.

United States v. Endicott, 803 F.2d 506, 509 (9th Cir. 1986)
(calling silencers as “gangster-type” devices that “serve” no

innocent purpose”) (quoting United States v. Luce, 726 F.2d 47,

49 (1st Cir. 1984)).

            I am aware that an alien admitted to the United States

under a nonimmigrant visa is prohibited from shipping,

transporting, receiving, or possessing a firearm or ammunition

unless the alien falls within one of the exceptions provided in

18 U.S.C. 922(y)(2), such as: a valid hunting license or permit,

admitted for lawful hunting or sporting purposes, certain

official representatives of a foreign government, or a foreign

law enforcement officer of       a friendly foreign government

entering the United States on official law enforcement business.

            I am aware that there has been an influx of non-

regulated suppressors entering United States commerce via

foreign sources.     HSI is working to combat the flow of these

suppressors into the United States.

            a.    CBP officers report that they have intercepted

suppressors, or parts of suppressors, being shipped into the

United States from various senders based out of the People’s

Republic of China.     The intercepted packages are often

mislabeled or misleadingly labeled and incorrectly manifested.


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            b.    Senders often identify the contents of the

packages as “filters,” “machine filter nozzle,” “motorcycle

filter,” “fuel filter,” other items with the word “filter,” or

“solvent traps” in the commodity description.

            c.    From ATF bulletins, I know that sometimes sellers

advertise silencers and silencer parts as “fuel filters” or

“solvent traps.”

            d.    Based on my training and experience, I understand

that items such as “fuel filters” and “solvent traps” are items

that can be used to receive solvents while cleaning firearms,

but are often used or readily modified to be used as

unregistered suppressors.

            e.    Legitimate solvent traps are devices attached to

the muzzle of a firearm barrel designed to catch or “trap” dirty

cleaning solvent pushed through the barrel from the chamber end

and out through the muzzle.       Purchasers may modify these devices

into unregistered silencers by simply boring a hole in the

closed end, but that would prevent the device from trapping dirt

or solvents.     Some devices marketed as “solvent traps” and “fuel

filters” have index markings showing where to drill a hole that

would modify the trap into a silencer.         Some also include

silencer baffles, which are common in firearm suppressors, but

which serve no legitimate purpose in a solvent trap or fuel

filter.    According to the ATF, these features signal an intent

to use the device as an unregistered silencer rather than a

solvent trap.




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C.    Discovery of smuggled firearm silencer shipped from China

      and addressed to MEMIJE at SUBJECT PREMISES #2
            On January 17, 2020, CBP Officer Jaime Pimental

inspected and detained a United States Postal Service parcel

originating from the People’s Republic of China, with tracking

number LW399868778CN, addressed to “Luis Memije” at SUBJECT

PREMISES #2.     The parcel also listed phone number (714) 569-1071

for the addressee.     According to its U.S. Customs paperwork, the

parcel was supposed to contain a “Filter.”

            I reviewed Officer Pimental’s report and the parcel’s

label and learned the sender of the Parcel was listed as Wenhao

HE, Guangzhou Huan Yi Trade Co., Ltd, No. 6, No. 2 freight

station, Yunxiao Road, Baiyun District, Guangzhou.           According to

his report, Officer Pimental targeted the parcel based on his

training and experience.

            I examined the black object inside the parcel and

determined that it could be used, and likely was intended to be

used, or readily modified to be used, as an unregistered

silencer.    The silencer inside the Parcel had a threaded opening

on one end of the cylinder, capable of attaching it to a gun

muzzle, and an indent/hole on the other end, consistent with the

size and location for the bullet to exit.         I disassembled the

silencer and found a series of baffles, which divert propellant

gasses, thus reducing the volume of shots fired through the

suppressor.

D.    Surveillance of SUBJECT PREMISES #1 and SUBJECT PREMISES #2
            The shipping label on the parcel containing the


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silencer, discussed above, listed MEMIJE as the recipient, the

delivery address as SUBJECT PREMISES #2, and phone number (714)

569-1071.
             Beginning in February 2020, I conducted queries in law

enforcement systems and did research on the Internet based upon

the information contained in the parcel’s U.S. Customs

paperwork.

             a.   California DMV records listed SUBJECT PREMISES #2

as the address for a vehicle registered to MEMIJE.

             b.   California DMV records list SUBJECT PREMISES #2

as MEMIJE’s current mailing address on his driver’s license.

             c.   Consolidated Leads Evaluation and Reporting

(CLEAR) report for MEMIJE revealed that SUBJECT PREMISES #1 is

associated with residence phone number (714) 569-1071.

             d.   I obtained subscribed information for (714) 568-

1071 from Charter Communications, which provided that it was

registered to Oliverio Memije with address of SUBJECT PREMISES

#2.

             e.   From the public records, SUBJECT PREMISES #1 is

listed as owned by Alberta Velez (aka Alberta Memije), and

SUBJECT PREMISES #2 is listed as owned by Oliverio Memije.

             On or about February 3, 2020, I conducted surveillance

at SUBJECT PREMISES #2.

             a.   During that surveillance, I observed that in the

driveway at the SUBJECT PREMISES #2 was a 2018 Honda Accord

bearing California license plate number 8CXW977.          According to

California DMV records, the registered owner of that vehicle is


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Oliverio Memije, with registered address of SUBJECT PREMIES #2.
            On or about February 5, 2020, I conducted surveillance

at SUBJECT PREMISES #1.

            a.    I observed that the front door of SUBJECT

PREMISES #1 has a security type metal screen door.

            b.    I observed that parked curbside in front of

SUBJECT PREMISES #1 was a silver colored 2014 Dodge Ram 1500

bearing California license plate number 13711R1 (SUBJECT VEHICLE

#1).   According to California DMV records, the registered owner

of SUBJECT VEHICLE #1 is Luis MEMIJE(-Guzman), with registered

address of SUBJECT PREMISES #2.

            c.    I also observed a white colored storage-type

trailer with two wheels located in front of SUBJECT PREMISES

#1’s garage on the driveway.       I observed that the trailer’s tow

hitch receiver/tongue was resting on bricks.

            On or about February 6, 2020, I drove to both SUBJECT

PREMISES #1 and SUBJECT PREMISES #2.

            a.    I observed that both the Honda Accord with

license plate 8CXW977 and SUBJECT VEHICLE #1 were parked in the

same locations as they had been parked on February 3 and

February 5, 2020, respectively.

            b.    I also observed that the white colored trailer in

front of SUBJECT PREMISES #1’s garage was in the exact same

location as, and had not been moved since, when I had seen it on

February 5, 2020.

            On or about February 7, 2020, I conducted surveillance

at SUBJECT PREMISES #1.      I observed that SUBJECT VEHICLE #1 was


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parked at the same general location on the street in front of

SUBJECT PREMISES #1 as I had seen it parked on February 5 and 6,

2020.

            a.    At approximately 8:15 a.m., I saw an unknown

Hispanic female exit SUBJECT PREMISES #1, walk to SUBJECT

VEHICLE #1, and enter the front passenger side door of SUBJECT

VEHICLE #1.

            b.    Shortly after, I observed a Hispanic male whom I

recognized as MEMIJE exit SUBJECT PREMISES #1, walk to SUBJECT

VEHICLE #1, and enter the front driver’s side door of SUBJECT

VEHICLE #1.

            c.    Then, SUBJECT VEHICLE #1 departed SUBJECT

PREMISES #1.     I followed and observed that SUBJECT VEHICLE #1

traveled to various locations in Santa Ana, California,

including 7-Eleven and a parking lot.

            d.    I also observed that the white colored trailer in

front of SUBJECT PREMISES #1’s garage was in the exact same

location as, and had not been moved since, I had seen it on

February 5 and 6, 2020.
            On or about May 25, 2020, at approximately 10:00 p.m.,

I conducted surveillance at SUBJECT PREMISES #1.

            a.    At that time, I observed that SUBJECT VEHICLE #1

was parked in front of SUBJECT PREMISES #1.

            b.    I also observed that the white colored trailer in

front of SUBJECT PREMISES #1’s garage was in the exact same

location as, and had not been moved since, when I had seen it on

February 5, 6, and 7, 2020.


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            On or about June 1, 2020, at approximately 11:25 a.m.,

I conducted surveillance at SUBJECT PREMISES #1.

            a.    At that time, I observed that SUBJECT VEHICLE #1

was parked in front of SUBJECT PREMISES #1.

            b.    I also observed that the white colored trailer in

front of SUBJECT PREMISES #1’s garage was in the exact same

location as, and had not been moved since, when I had seen it on

February 5, 6, and 7, and May 25, 2020.

E.    Law enforcement queries of MEMIJE and firearms indicate

      that MEMIJE has had multiple firearms registered to him.
            In or about January 2020, I accessed law enforcement

databases related to firearms.       Based on the results of those

searches, I learned that MEMIJE has had multiple firearms

registered to him.     The firearms registered to MEMIJE that I

identified were:

            a.    Forjas Taurus 9mm caliber semi-automatic handgun

bearing serial number TPB64348.        That weapon was registered to

MEMIJE with registered address of SUBJECT PREMISES #1.           The date

of sale was in or about August 1999.

            b.    Forjas Taurus .38 caliber revolver handgun

bearing serial number MC754079.        That weapon was registered to

MEMIJE at an address in Santa Ana, California (not either

SUBJECT PREMISES #1 or SUBJECT PREMISES #2).          The date of sale

was in or about August 1994.

                  i.   In February 2020, I learned from law

enforcement queries that this weapon was destroyed by Santa Ana

Police Department (SAPD).


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             c.     Beretta 9mm automatic handgun bearing serial

number E09538Z.       That weapon was registered to MEMIJE at an

address in Santa Ana, California (not either SUBJECT PREMISES #1

or SUBJECT PREMISES #2).      The date of sale was in or about

December 1990.

F.      ATF records also show that MEMIJE has purchased multiple

        firearms.
             In February 2020, I was in contact with ATF SA David

Hamilton.    SA Hamilton provided the following firearms trace

summary for weapons associated with MEMIJE:

             a.     On or about September 11, 1996, SAPD recovered a

Weatherby .22 caliber Mark XXII rifle bearing serial number

T07116, from SUBJECT PREMISES #1.         The recovery information

listed MEMIJE as the possessor of the weapon.

             b.     On or about July 14, 2004, SAPD recovered a Maadi

7.62 x 39 caliber Misr (AK-47) rifle bearing serial number

CM0060, from MEMIJE’s then residence (neither SUBJECT PREMISES

#1 nor SUBJECT PREMISES #2).       The recovery information listed

MEMIJE as the possessor of that weapon.         The purchase date was

on or about August 1, 1997.       MEMIJE’s California driver’s

license was used for the purchase of that weapon.

             c.     On or about May 25, 2010, SAPD recovered the

Forjas Taurus .38 caliber revolver handgun bearing serial number

MC754079.    The purchaser information was “Luie MEMUE”.         The

purchaser used MEMIJE’s California driver’s license number

“A7894780”.       The purchase date was on or about September 16,

1994.


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            In or about April 2020, I received copies of MEMIJE’s

signed ATF Forms 4473 – Firearms Transaction Records, which I

reviewed.    ATF Forms 4473 are used so that a federally

authorized firearms transferor/seller may determine whether s/he

may lawfully sell or deliver a firearm to the person identified

on the form, as well as to alert the transferee/buyer of certain

restrictions on the receipt and possession of firearms.           From my

review of those forms, I learned that MEMIJE has purchased

multiple firearms in California:

            a.    In September 1994, MEMIJE purchased the Forjas

Taurus .38 caliber revolver handgun bearing serial number

MC754079 from B & E Guns, Inc. in Cypress, California.           As

required for firearms purchases/transfers, MEMIJE completed ATF

Form 4473 – Firearms Transaction Record.         From a review of that

form, I learned the following:

                  i.    MEMIJE answered “NO” on the “Certification

of Transfer” regarding - Are you an alien illegally in the

United States?

                  ii.   MEMIJE provided his California DMV license

number “A7894780”.

                  iii. MEMIJE signed his name “LUIS MEMIJE” and

dated “09-16-94”.

                  iv.   The transferor’s transaction number was

“60557”.

            b.    In August 1997, MEMIJE purchased the Maadi, 7.62

x 39 caliber Misr (AK-47) rifle bearing serial number “CM00609”

from Turner’s Outdoorsman in Fountain Valley, California.             As


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required for firearms purchases/transfers, MEMIJE completed ATF

Form 4473 – Firearms Transaction Record.         From a review of that

form, I learned the following:

                  i.    MEMIJE answered “NO” on the “Certification

of Transfer” on the question “Are you an alien illegally in the

United States?”

                  ii.   MEMIJE provided his California DMV license

number A7894780.

                  iii. MEMIJE signed his name “LUIS MEMIJE” and

dated 8-1-97.

                  iv.   The transferor’s transaction number was

09144.

            c.    In September 1999, MEMIJE purchased the 9mm

handgun bearing serial number TPB64348.         As required for

firearms purchases/transfers, MEMIJE completed ATF Form 4473 –

Firearms Transaction Record.       From a review of that form, I

learned the following:

                  i.     MEMIJE answered “NO” on the “Certification

of Transfer” on the question “Are you an alien illegally in the

United States?”

                  ii.   MEMIJE provided his California DMV license

number A7894780.

                  iii. MEMIJE signed his name as “LUIS MEMIJE” and

dated 9-2-99.

                  iv.   The state transaction number was 1699-0162.

            d.    According to my review of the records, law

enforcement has destroyed all the of the above weapons after


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seizing them, except for the 9mm handgun bearing serial number

TPB64348, which has never been recovered from MEMIJE.

G.    In 1996, SAPD Narcotics Unit seized firearms from SUBJECT

      PREMISES #1 while MEMIJE lived there.
             In early 2020, I obtained records from SAPD

investigation numbers 96-41944 and 04-30041, which were related

to MEMIJE.    From my review of those records, I learned the

following:

             On or about September 11, 1996, SAPD Narcotics Unit

executed a state search warrant at SUBJECT PREMISES #1, during

which officers recovered multiple weapons inside SUBJECT

PREMISES #1.

             a.   The weapons that were recovered inside SUBJECT

PREMISES #1 included the Forjas Taurus .38 caliber revolver

handgun bearing serial number MC754079 and Weatherby .22 caliber

Mark XXII rifle bearing serial number T07116, discussed above,

as well as a third weapon - a Norinco, 7.62 x 39 caliber Mak-90

assault rifle bearing serial number 9364139.

             b.   In addition, SAPD seized three Mak-90 magazines,

a gram scale, ammunition, marijuana plants, a phone bill, and

photographs of MEMIJE brandishing an assault rifle.

             c.   Based on interviews with subjects during the

execution of the search warrant, it was determined that MEMIJE

lived at SUBJECT PREMISES #1 at that time.

                  i.   The Forjas Taurus .38 caliber revolver

handgun bearing serial number MC754079, 7.62 x 39 caliber Mak-90

assault rifle bearing serial number 9364139, Mak-90 magazines,


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ammunition, and photographs were found in the southwest bedroom.

The Weatherby .22 caliber Mark XXII rifle bearing serial number

T07116 was found in the garage at SUBJECT PREMISES #1.

                  ii.   During interviews, subjects at the residence

advised SAPD that MEMIJE resided in the southwest bedroom.

H.     In 2004, MEMIJE’s wife confirmed that MEMIJE kept multiple

       firearms inside his residence.
             On or about July 14, 2004, Fidela Sanchez called “9-1-

1” for spousal domestic violence.         During the interview Sanchez

reported the following:

             a.   She said that her cohabitating spouse, MEMIJE,

had “tried to kill” her.

             b.   Sanchez said that around 11 p.m. the night

before, MEMIJE had come to her place of employment and told her

“You are going to get it.”

             c.   When she arrived at their house around 11:45

p.m., MEMIJE engaged in an argument with Sanchez.

             d.   MEMIJE began to call her “a whore” because she

had eaten lunch with a couple of her male coworkers, without his

knowledge.

             e.   MEMIJE then threw her against the floor.

             f.   As Sanchez lay on the floor, MEMIJE charged at

Sanchez and grabbed her neck with both hands and began to choke

her.

             g.   She said she grabbed MEMIJE’s hair to stop the

choking.

             h.   Sanchez said she managed to fight off MEMIJE and


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tried to call the police from the living room; however, MEMIJE

unplugged the phone.

             i.   She said that she then ran to her bedroom and

locked herself in, and called the police.

             j.   Sanchez stated that MEMIJE had several firearms

in their home, including a firearm in the nightstand.

             k.   After the interview, SAPD took custody of a Maadi

assault rifle, which was located in the closet of their

residence.    However, the firearm in the nightstand was missing.

As discussed immediately below, MEMJIE admitted that he had

moved that firearm to a relative’s location the previous night.

I.    In 2004, MEMIJE confirmed that he had a firearm in his

      residence, which he said he had just removed to his

      cousin’s mobile home.
             On or about that same day (July 14, 2004), MEMIJE

traveled to the SAPD to inquire about an outstanding emergency

protective order against him.

             SAPD then interviewed MEMIJE at SAPD.       From my review

of the report of that interview, I learned the following

information:

             a.   MEMIJE had discovered that Sanchez had gone to

lunch with a male coworker.       After discussion, Sanchez charged

at him, so MEMIJE said he just protected himself.

             b.   MEMIJE stated that the night prior to this

incident, he had taken a 9mm gun to his cousin’s home, which he

said was located in a mobile home on Sullivan in Santa Ana.

MEMIJE said he took the gun there because he was afraid that his


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wife Sanchez would use it on him.

            c.    After the interview, MEMIJE was arrested by SAPD

for violating California Penal Code Section 273.5(a) (felony

spousal abuse).     The final disposition was release by the

prosecutor for lack of sufficient evidence.
            As noted above, SUBJECT PREMISES #2 is a mobile home

located on Sullivan Street in Santa Ana (Space 99, 518 S.

Sullivan Street, Santa Ana, California), which is currently

listed as MEMIJE’s address with California DMV.

J.    The item shipped from China addressed to MEMIJE at SUBJECT

      PREMISES #2 is a silencer prohibited under federal law.
            In February 2020, I presented to ATF SA David Hamilton

photographs of the suspected silencer that had been mailed from

China addressed to MEMIJE at SUBJECT PREMISES #2.          According to

him, the components and the device design are consistent with

other devices that ATF has classified as “firearm silencers.”

            Although a definitive classification would have to be

made by a qualified laboratory, such as ATF’s Firearms and

Ammunition Technology Division, based upon my training and

experience, including discussions with AFT agents, I believe

that the recovered device is a “firearm silencer” as defined

under 18 U.S.C. § 921(a)(24), and as a “firearm” as defined

under 18 U.S.C. § 921(a)(3) and 26 U.S.C. § 5845(a).           The lack

of a serial number and other manufacturer markings precludes

registration of this firearm in the National Firearms

Registration and Transfer Record (NFRTR).




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K.    MEMIJE lacks immigration status in the United States.
            I learned from ICE and federal law enforcement

databases that Alien File Number (“A-File”) A98 949 595 was

assigned and maintained for MEMIJE.

            Based upon my training and experience, I know that an

A-File is a file in which immigration records are maintained for

aliens admitted to or otherwise found in the United States.            The

A-File usually contains photographs, fingerprints, court records

of conviction, and records relating to deportation or other

actions by DHS with respect to the subject alien for whom the A-

File is maintained.      Further record checks revealed that MEMIJE

was removed to Mexico.

              In or about April 2020, I reviewed MEMIJE’s A-File.

My review of MEMIJE’s A-File revealed the following information

and documents:

            a.    A Record of Deportable Alien (Form I-213) dated

August 17, 2005, which indicated that a U.S. Border Patrol

Senior Agent had responded to thirteen individuals jumping the
border fence approximately eighteen miles east of the Tecate,

California, Port of Entry into the United States.

                  i.   MEMIJE was one of those thirteen

individuals, and he stated that he was a citizen and national of

Mexico, born in Guerrero, Mexico, without any immigration

documents to enter or remain in the United States.

            b.    An Order of Removal dated August 29, 2005,

showing that MEMIJE was ordered removed from the United States

to Mexico by Ronald J. Smith, Field Director, San Diego,


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California.

            c.    On or about August 29, 2005, MEMIJE was ordered

removed from the United States to Mexico by Immigration Judge

Robert J. Barrett.

            d.    An executed Warrant of Removal/Deportation

indicates that MEMIJE was officially removed and deported from

the United States to Mexico on August 29, 2005, at the Port of

Entry, San Ysidro, California.

                  i.    I know from my training and experience that

a Warrant of Removal/Deportation or a Verification of Removal is

executed each time a subject alien is removed and deported from

the United States by ICE (or its predecessor agency, INS) and

usually contains the subject’s photograph, signature, and/or

fingerprint.

                  ii.   The executed Warrants of Removal/Deportation

and the Verification of Removals in MEMIJE’s A-File contains his

signature, fingerprint, and photograph.

            I then obtained a photograph from California DMV

bearing the name Luis MEMIJE, license number Y3018710 (prior

license number) with date of birth August 25, 1967.           I compared

MEMIJE’s California DMV photograph to the photographs contained

in the immigration records under MEMIJE’s identifying

information.     It appeared to me that MEMIJE’s California DMV

photograph and the immigration record photographs under MEMIJE’s

identifying information appear to be the same person.           Thus, I

believe that A-file A98 949 595 corresponds to MEMIJE.

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            Based on my training and experience, I know that the

ICE computer indices, track and document each time an alien is

deported from the United States by ICE (or its predecessor

agency, INS) or is granted permission to enter or re-enter the

United States.     The ICE computer indices confirmed that MEMIJE

had been removed and deported on the dates indicated on the

Warrants of Removal/Deportation and the Verification of Removal

found in MEMIJE’s A-File. The ICE computer indices further

indicated that MEMIJE had not applied for or obtained permission

from the Attorney General or his designated successor, the

Secretary of Homeland Security, to re-enter the United States

legally since MEMIJE had last been deported.

            Based on my review of MEMIJE’s A-File, I determined

that his A-File does not contain any record of his ever applying

for or receiving permission from the Attorney General or his

designated successor, the Secretary of Homeland Security, to

legally re-enter the United States.        Based on my training and

experience, I know that such documentation is required to

re-enter the United States legally after deportation, and that

if such documentation existed, it would ordinarily be found in

MEMIJE’s A-File.

            Based on my review of the contents of A-File A98 949

595, in particular the Warrants of Removal/Deportation and the

Verification of Removal notice indicating that MEMIJE had been

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removed and deported to Mexico, and my training and experience,

I believe that MEMIJE is an alien, that is, a citizen of Mexico

who illegally re-entered the United States without permission.

        V.      TRAINING AND EXPERIENCE ON IMMIGRATION OFFENSES

             Based upon my training and experience, including

discussions with other experienced HSI SAs, I know that

individuals often keep their identity and immigration related

documents at their residence or other storage locations, so that

they can readily access those documents.         Such documents include

proof of identity as well as foreign nationality or alienage,

including birth certificates, passports, baptism records, and

school and medical records, copies of applications or petitions

filed with U.S. immigration, and national identity cards.

          VI.     TRAINING AND EXPERIENCE ON FIREARMS OFFENSES
             From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct firearms investigations, I am aware of the

following:

             a.     Persons who possess, purchase, import, or sell

illegal firearms, such as unregistered suppressors, generally

maintain records of their firearm transactions as items of value

and usually keep them in their residence, or in places that are

readily accessible, and under their physical control, such in

their digital devices.      It has been my experience that

individuals who own, import, and deal firearms illegally will


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keep the contact information of the individual who is exporting

or otherwise supplying firearms for future purchases or

referrals.    Such information is also kept on digital devices.

             b.   Many people keep mementos of their firearms,

including digital photographs or recordings of themselves

possessing or using firearms on their digital devices, or of

firearms that they wish to sell to others.         These photographs

and recordings are often shared via social media, text messages,

and over text messaging applications.

             c.   Importers of NFA firearms, and products intended

to be converted into NFA firearms, often use the Internet to

source and purchase these items.          The digital devices of

importers often include Internet searches and browsing history

of the websites of foreign firearm exporters, online messaging

boards used by other firearm importers and exporters, cookies

from exporter websites and proprietary e-commerce portals as

well as third-party e-commerce platforms on which firearm

exporters list their products, and tutorials and instructional

videos on how to manufacture NFA firearms, modify firearms, and

convert other items into firearms or firearm accessories.

             d.   Correspondence between persons importing and

exporting or buying and selling firearms, including

correspondence between co-conspirators in the illegal dealing of

firearms, often occurs over phone calls, e-mail, text message,

and social media messages to and from smartphones, laptops, or

other digital devices.      This includes sending photos of the

firearm between the seller and the buyer, as well as negotiation


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of price.    In my experience, individuals purchasing firearms

from international sellers use phone calls, e-mail, messaging

applications, and text messages to communicate with each other

regarding firearms.

            e.    People who collect firearms are often gun

enthusiasts, who can make their own weapons or modify components

sourced from various sellers and distributors.          It is also

possible to build firearms and firearm components using 3-D

printing technology.      Gun enthusiasts often obtain firearm

components and 3-D printing materials, including blueprints,

from the Internet and through networks of other gun enthusiasts.

Communications between such individuals often occur over

telephone, email, text, and messaging applications.

            f.    Ammunition is often maintained nearby firearms.

            g.    When firearms and/or narcotics or narcotics

paraphernalia, such as scales, are maintained, there is often

also large amounts of currency.

          VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES 1
            Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is


      1As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.

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often retrievable from digital devices:

            a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.         For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be


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evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.       Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted
            Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,
often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.         Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

            b.    Digital devices capable of storing multiple


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gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.
            The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

            a.    Users may enable a biometric unlock function on

some digital devices.      To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

            b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.


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            c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress MEMIJE’s thumb and/or fingers on the

device(s); and (2) hold the device(s) in front of MEMIJE’s face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.
            Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

       VIII.      REQUEST FOR AUTHORIZATION FOR NO-KNOCK ENTRY
            Based upon my background, training, and experience,

and knowledge of this investigation, I have reasonable suspicion

that knocking and announcing law enforcement’s presence at

SUBJECT PREMISES #1 and SUBJECT PREMISES #2 prior to executing

the warrants would be dangerous.



                  DENIED
            For the following reasons, I believe there are serious

safety concerns with executing the search warrants at SUBJECT

PREMISES #1 and SUBJECT PREMISES #2:

            a.    As detailed above, MEMIJE has stored an assault

rifle in the bedroom closet of his residence.

            b.    As detailed above, MEMIJE’s wife said that he has

stored a semi-automatic hand gun in the bedroom night stand of

his residence.

            c.    As detailed above, I observed that SUBJECT

PREMISES #1 has a metal “security type” front screen door.            That

metal door prevents individuals from looking inside the


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residence from outside.

             d.   As described above, law enforcement has responded

to a report of domestic violence by MEMIJE.

             e.   SUBJECT PREMISES #1 and SUBJECT PREMISES #2 are

located in a high gang territory area.         Specifically, based upon

my discussions with other agents and other law enforcement



                      DENIED
personnel, I know that the area around the SUBJECT PREMISES are

known to be claimed areas of the Townsend Street gang, Sullivan

Street gang, Golden West gang, and Barrio Southside gang, in

Santa Ana.
             No-knock authorization will provide HSI and its agency

partners with the opportunity to enter the properties identified

in Attachments A1-A2 while those properties’ occupants are

sleeping, which will mitigate the concern that the occupants

will access firearms or other weapons.

             Thus, based upon officer safety concerns, I request

that the Court authorize no-knock execution of the search

warrants for SUBJECT PREMISES #1 and SUBJECT PREMISES #2.

                  IX.   REQUEST FOR NIGHTTIME SERVICE
             I also request that the Court authorize law

enforcement to execute the search warrants for SUBJECT PREMISES

#1 and SUBJECT PREMISES #2 at any time in the day or night, as



                  DENIED
set forth under Fed. R. Crim. Proc. 41(e)(2)(A)(ii).

             Good cause for nighttime service exists because of

officer safety concerns detailed in the paragraphs above

supporting no-knock authorization.        The ability to serve the

requested warrants at any time in the day or night will provide


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law enforcement with a better opportunity to enter the


                     DENIED
properties without incident to ensure everyone’s safety.

the facts of this case and firearms involved, I believe that

nighttime service is warranted in this case.
                                                                    Given




                             X.    CONCLUSION
            For all the reasons described above, there is probable

cause to believe that MEMIJE violated 8 U.S.C. § 1326 (Illegal

Alien Found in the United States Following Deportation or

Removal).

            Further, for all the reasons described above, there is

probable cause to believe that the items listed in Attachment B,

which constitute evidence, fruits, and instrumentalities of

violations of the Subject Offenses, will be found in SUBJECT

PREMISES #1, SUBJECT PREMISES #2, and SUBJECT VEHICLE #1, as

described in Attachments A-1, A-2, and A-3, respectively.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                   18 day of June
2020.



   /s/ Autumn D. Spaeth
HONORABLE AUTUMN D. SPAETH
UNITED STATES MAGISTRATE JUDGE




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